Case 9:21-cv-00132-TH-ZJH Document 8 Filed 10/20/21 Page 1 of 2 PageID #: 22



                              **NOT FOR PRINTED PUBLICATION**


                           IN THE UNITED STATES DISTRICT COURT

                            FOR THE EASTERN DISTRICT OF TEXAS

                                         LUFKIN DIVISION

GARY BACON                                         §

VS.                                                §     CIVIL ACTION NO. 9:21-CV-132

SERGEANT BURLESON                                  §

                            ORDER ACCEPTING THE MAGISTRATE
                          JUDGE’S REPORT AND RECOMMENDATION

           Plaintiff Gary Bacon, a prisoner confined at the Polunsky Unit of the Texas Department of

Criminal Justice, Correctional Institutions Division, proceeding pro se, filed this civil rights action

pursuant to 42 U.S.C. § 1983.

           The Court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

Judge, at Beaumont, Texas, for consideration pursuant to applicable laws and orders of this Court.

The Magistrate Judge has submitted a Report and Recommendation of United States Magistrate

Judge. The Magistrate Judge recommends dismissing the action without prejudice for want of

prosecution.

           The Court has received and considered the Report and Recommendation of United States

Magistrate Judge filed pursuant to such order, along with the record and the pleadings. No

objections to the Report and Recommendation of United States Magistrate Judge were filed by the

parties.
Case 9:21-cv-00132-TH-ZJH Document 8 Filed 10/20/21 Page 2 of 2 PageID #: 23



                                              ORDER

       The findings of fact and conclusions of law of the Magistrate Judge are correct, and the report

of the Magistrate Judge (docket entry #5) is ACCEPTED. A final judgment will be entered in this

case in accordance with the Magistrate Judge’s recommendation.

       SIGNED this the 20 day of October, 2021.




                                      ____________________________
                                      Thad Heartfield
                                      United States District Judge




                                                 2
